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                                                                                                                        ~~~

  Tracy Harris #02743-112
  NAME
  FCI Medium II Victorville                                                                                                     F~ C~;
  PRISON IDENTIFICATIONBOOKING NO.                                                                        ~~t~ ~ l~                 ~ ~ ~~
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                                                                                                                                   ~~ ~~          ~~ ~~k~.
  P.0 Box 3850
  ADDRESS OR PLACE OF CONFINEMENT
                                                                                                                        ~'. " ~, ~~
                                                                                                              ~,             ~~°
  Adelanto,.:CA, 92301
  Note:     Ifrepresented by an attorney, provide name,addressy &telephone
                                                                                                                   ~-
            number. It is your respo►rsibilrty to notify tyre Clerk of Court in
            writing of any change of address.

                                                  UNITED STATES DISTRICT COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA


                                                                                                                    ?0 b 1- ~v
  UNITED STATES OF AMERICA,                                                         CASE NUMBER:

                                                                      Plaintiff,
                                                                                              To bt supplied by the Clerk of the United States District Court


                                        v.                                                      2:14-cr-00338-SJ0-2
                                                                                       CR
  Tracy Harris, Pro Se                                                                        Criminal case under which sentence was imposed.

  FULL NAME OF MOVANT
  (Include name under which you were convicted)
                                                                                              MOTION TO VACATE, SET ASIDE, OR
                                                                    Petitioner.
                                                                                             CORRECT SENTENCE BY A PERSON IN
                                                                                                   FEDERAL CUSTODY
                                                                                                      28 U.S.0 § 2255




                                                      INSTRUCTIONS -READ CAREFULLY

This motion must be legibly handwritten or typewritten and signed by the movant under penalty of perjury. Any. false statement of a
material fact may serve as the basis for prosecution and conviction for perjury. All questions must be answered concisely in the
proper space on the form. Where more room is needed to answer any questions use reverse side of sheet.

Additional pages are not permitted. No citation or authorities need be furnished. If lxiefs ar arguments are submitted, they should
be submitted in the form of a separate memorandum.

Upon receipt, your motion will be filed if it is in proper order. NO FEE is required with this motion

If you do not have the necessary funds for transcripts, counsel, appeal, and other costs connected with a motion of this type, you may
request permission to proceed informcr       peris, in which, event you must execute the declaration on the last page, setting forth
information establishing your inability to pay costs. If you wish to proceed informapauperis, you must have an 'authorized officer at
the penal institution complete the certificate as to the amount of money and securities on deposit to your credit in any account in the
institution.

Only judgments entered by one court may be challenged in a single motion. If you seek to challenge judgments entered by different
judges or divisions either in the same district or in a different district, you must file separate motions as to each judgment.

Your attention is directed to the fact that you must include all grounds forreliefand all facts supporting such grounds forrelief in the
motion you file seeking relief from any judgment of conviction.

When the motion is fully completed, the original and three (3) copies must be mailed to the Clerk of the United States District .Court,
whose address is 255 East Tecnpk Street, Suite TS-134, Los Angeles, California 90012.


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                                                           MOTION


   1. Name and location of court that entered judgment of conviction under attack: United States District
      Court For The Central District Of California



2. Date ofjudgment ofconviction: Mav 30, 2017
3. Length ofsentence:       180 Months                               Sentencing judge: James Otero
4. Nature ofoffense or offenses for which you were convicted: RICO; Conspiracy; Distribution of a
   Controlled Substance.




5. What was your plea? (check one)
    ❑ Not guilty
      Guilty
    D Nolo Contendere

    If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment,.give details:


                                                               N/A




6. Kind of trial: (check one)

    ❑ Jury
      Judge only


7. Did you testify at the trial?
    ❑ Yes      ~ No


8. Did you appeal from the judgment of conviction?
   ~I Yes       ❑ No



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9. If you -did appeal, answer the following:

   (a)Name of court Ninth. Circuit Court Of Appeals
   (b)Result Attorney Elizabeth Richard-Royer voluntairly withdrew the appeal


   (c)Date of result February 12, 2018
10. Other than a direct appeal from the judgment of conviction and sentence, have you previously fled any petitions,
    applications, or motions with respect to this judgment in any federal court?

         ❑ Yes         ~No
1 1. If your answer to question number 10 was "yes," give the following information:
   (a) (1) Name ofCourt
        (2) Nature of proceeding                        N/A



       (3) Grounds,raised                            N/A


       (4) Did you receive an evidentiary hearing on your petition, application, or motion?
               ❑ des   ~No
       (5) Result


       (6) Date of result                                               N/A
   (b)(1) Name of Court
       (2) Nature of proceeding


       (3) Grounds raised


       (4) Did you receive an evidentiary hearing on your petition, application, or motion?
               ❑ Yes   ~No
       (5) Result


       (6) Date of result
   (c) (1) Name of Court
       (2) Nature of proceeding                                               N/A


       (3) Grounds raised


       (4) Did you receive an evidentiary hearing on your petition, application, or motion?
               ❑ Yes    X10


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        (5) Result                           N/A                                                           __


       (6) Date ofresult
   (d) Did you appeal, to an appellate federal court- having jurisdiction, the results of action taken on any petition,
       application, or motion?

       (1)First petition, etc.     ❑Yes ~No
       (2)Second petition, etc. ❑Yes ~No
       (3)Third petition, etc. ❑ Yes ~No
  (e~ If you did not appeal from the adverse action on any petition, application, or motion, explain briefly why you did not:.


                                                                N/A




12. State concisely every ground on which you claim that you are being held unlawfully.

    CAUTION: If you fail to set forth all grounds in this motion, you may be bared from presenting additional grounds
    at a later date. For your information, the following is a list of the most frequently raised grounds for relief in this
    type of proceeding. Each statement preceded by a letter constitutes a separate ground for possible relief. You may raise
    any grounds that you have, whether listed below or not. However, you should raise in this- motion all available
    grounds (relating to this conviction) on which you base your allegations that you are being held in custody unlawfully.

    If you select one or more ofthe grounds listed below for relief, you must allege facts in support ofthe grounds you
    select. The petition will be returned to you if you merely check(a)through (j) or any one or more of these grounds
    without alleging facts in support.

       (a) Conviction obtained by plea of guilty that was unlawfully induced or not made voluntarily or with
           understanding ofthe nature ofthe charge and the consequences of the plea.

       (b) Conviction obtained by use of coerced confession.
       (c) Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
       (d) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
       (e) Conviction obtained by violation ofthe privilege against self-incrimination.
       (~ Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence
               favorable to the defendant.
       (g) Conviction obtained by a violation ofthe protection against double jeopardy.
       (h} Conviction obtained by action of a grand or petit jury which was unconstitutionally selected and impaneled.
       (i) Denial of effective assistance of counsel.
       (j) Denial ofright of appeal.




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     A. Ground one:- ~nviction obtained by a violation of the protection against
                     double jeapardy.
    Supporting facts (tell your story briefly without citing cases or law): The Judgment shows that I was
    convicted of 2 counts for violating 21 U~S.0 SS~:.860 and 841.for one instance of

  _-.sales of methamphetamine. Section $41 is a~~                       ~S 860 end i~ thPrPfnrP a
       lesser-included offense because the 5 841 elements are a .subset of ~ 860. To be
  _~~ ~~~nvieted under.~ bz~th:_sta~~tes for- tY~e,= same;..cc~un~ of sales violates double -jeopardy.
    B. Ground two: Dior District Of Minnesota conviction does not qualify for career
    enhancement under U.S.S.G 5 4B1.2.-
    Supporting facts (tell your story briefly without citing cases or law): 'I'h~ prior District of Minnesota
    conviction in case no. CR-99-51-JMR, does not"qua. ify as a "prior conviction" under
    54B1.2 becuase that offense conduct is the same underlying conduct in count 12
    of the instant offense. and meets all five criteria under the Blockburger test. Any
    prior conviction which is part of the instant offense cannot 1~ used under S 4B1.2

    C. Ground three: Count 72 sales of methamphetamine could not have been corr~nitted in
    conjunction with count 12 conspiracy to distribute crack cocaine.

    Supporting facts (tell your story briefly without citing cases or law): Tie Judgment shows that I was
    convicted fora 2014 distribution of methamphetamine in conjunction with a conspiracy
    to distribute crack cocaine in 1999. There is no evidence- that I agreed with anyone
    in 1999 to distribute methamphetamine in 2014. The sales of methamphetamine in 2014
    consists of a simple buyer/seller relationship which does not involve conspiracy.
    D. Ground four: Ineffective assistance of counsel.


    Supporting facts (tell your story briefly without citing cases or law): Each attorney who ha~~ r+ep~esented
    this -case from the beginning has been ineffective for carious reasons. Should the
    court entertain this motion and order briefing, I will be able to demonstrate in
    detail who, and to what extent, each attorney was in fact ineffective.


13. If any of the grounds listed in 12 A, B, C, or D were not previously presented, state briefly what grounds were not
    presented, and give your reasons for not presenting them:   firing sentencing attorney Raphael
    attempted to address the issue of double jeopa.rdy(A)~and the career offender
    enhancement(B), but the court would not allow it to be heard.
14. Do you have any petition or appeal now pending in any court as to the judgment under attack?
    ❑ Yes      ~No




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 15. Give the name and address, if known, of each attorney who represented you in the following stages of the judgment
     attacked herein:
   (a) At a prehmmary heanng. ~toine Raphael


   (b) At arraignment and plea: Same


   (c) At trial:     same


   (d) At sentencing:       same


   (e) On appeal: Elizabeth Richardson-RQyer


   (fl In any post-conviction proceeding: Jennifer Uyed.a and Chad Nardiello


   (g) On appeal from any adverse ruling in apost-conviction proceeding:               N/A


16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court at
    approximately the same time?

       Yes       ❑ No

17. Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
    ❑ Yes      ~ No
   (a) If so, give the name and location ofthe court that imposed sentence to be served in the future:
                                                                 N/A
   (b) Give the date and length of sentence to be served in the future:


   (c) Have you filed, or do you contemplate.filing, any petition attacking the judgment which imposed sentence to be
       served in the future?

         ❑ Yes           ❑ No

    WHEREFORE, movant prays that the court grant him all relief to which he may be entitled in this proceeding.
                                                                                 Pro Se
                                                                                 Signature ofAttorney(farty)

    I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.

                    July 18, 2019
    Executed on
                              Date                                                   Signature ofMovant




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    This motion is timely because attorney Chad Nardiello, whom I did -not ask to
     be assigned to this case, failed to meet the February 12 deadline.
     But the Court, however, tolled the filing deadline for all 5 2255 motions in
     this case.. See docket entry #3704 of December 26. 2018.




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                           1Yacy Hargis #02743-112
                     Federal Correctional Institution #2
                                 P.0 Box 3850
                             Pdelan[o, CA. 92301




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                                                           -        255 East Teeple Street, Suite 15-134
                                                                          Los Angeles, G. 90012
